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 2   WASHINGTON, D.C. 2006-1682
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 3
     Tel. 1-202-869-7710
 4

 5

 6

 7

 8
                         UNITED STATES BANKRUPTCY COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
10                         SAN FERNANDO VALLEY DIVISION

11
     In re                                    Case No.: 1:24-bk-10646-MB
12

13                                            Chapter 11
     SYNAPSE FINANCIAL TECHNOLOGIES,
14   INC.,                                    NOTICE OF STATUS CONFERENCE
15                  Debtor.                   DATE: December 3, 2024
                                              TIME: 10:00 a.m. PT
16
                                              PLACE: Courtroom 303
17                                                   21041 Burbank Boulevard
                                                     Woodland Hills, CA 91367
18
                                              [Zoom instructions below]
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 1             PLEASE TAKE NOTICE that a Status Conference will be held on December 3, 2024 at
 2   10:00 a.m.
 3             PLEASE TAKE FURTHER NOTICE that the Court will conduct the Status Conference
 4   in person and remotely, using ZoomGov audio and video technology. Information on how to
 5   participate in the hearing remotely using ZoomGov is provided below. Hearing participants and
 6   members of the public may participate in and/or observe the hearings using ZoomGov, free of
 7   charge.
 8             Individuals may connect by ZoomGov audio and video using a personal computer
 9   (equipped with camera, microphone and speaker), or a handheld mobile device with an integrated
10   camera, microphone and speaker (such as an iPhone, iPad, Android phone or Android tablet). The
11   connection can be initiated by entering the “Meeting URL” into a web browser on any of these
12   devices, provided the device is connected to the Internet. Individuals connecting in this manner
13   will be prompted for the Meeting ID and Password shown below.
14             Individuals also may connect to the hearings by telephone only, using the telephone
15   number provided below. Individuals connecting in this manner also will be prompted for the
16   Meeting ID and Password.
17             Neither a Zoom nor a ZoomGov account is necessary to participate in or observe the
18   hearings, and no pre-registration is required.
19             The audio portion of the hearings will be recorded electronically by the Court and
20   constitute its official record.
21             All persons are strictly prohibited from making any other recording of court proceedings,
22   whether by video, audio, “screenshot,” or otherwise. Violation of this prohibition may result in the
23   imposition of monetary and non-monetary sanctions.
24             The following is the unique ZoomGov connection information for the above-referenced
25   hearings:
26                    Meeting URL: https://cacb.zoomgov.com/j/1614151416
27                    Meeting ID: 161 415 1416
28
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 1                 Password: 075890
 2                 Telephone: 1 (669) 254 5252 or 1 (646) 828 7666
 3   More information on using ZoomGov to participate in this hearing is available on the Court’s
 4   website at the following web address: https://www.cacb.uscourts.gov/judges/honorable-martin-r-
 5   barash under the tab “Phone/Video Appearances.”
 6
            PLEASE TAKE FURTHER NOTICE that, pursuant to Judge Barash’s bench order at
 7
     the Status Conference held on November 13, 2024, the Trustee will file the next Status Report on
 8
     or before December 2, 2024.
 9

10
     Dated: November 19, 2024
11                                               JELENA MCWILLIAMS
                                                 CHAPTER 11 TRUSTEE
12

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15                                               By: /s/ Jelena McWilliams
                                                      Jelena McWilliams
16                                                    Chapter 11 Trustee
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 1                                    PROOF OF SERVICE OF DOCUMENT

 2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is:
 3
     Cravath, Swaine & Moore LLP, 2 Manhattan West, 375 Ninth Avenue, New York, NY 10001
 4
     A true and correct copy of the foregoing document entitled (specify):
     NOTICE OF STATUS CONFERENCE
 5
     will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
 6   2(d); and (b) in the manner stated below:
 7   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
     controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
 8   hyperlink to the document. On (date) 11/19/2024, I checked the CM/ECF docket for this bankruptcy case
     or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List
 9   to receive NEF transmission at the email addresses stated below:

10   Raymond O Aghaian raghaian@kilpatricktownsend.com, ndelman@kilpatricktownsend.com;
     moroberts@ktslaw.com;tmeyers@ktslaw.com;jbusche@ktslaw.com
11   Ron Bender rb@lnbyg.com
     David A Berkley david.berkley@wbd-us.com, mary.koo@wbd-us.com;Sul.Lee@wbd-us.com
12   J Scott Bovitz bovitz@bovitz-spitzer.com
     Rudy J Cerone rcerone@mcglinchey.com, lgraff@mcglinchey.com;jingargiola@mcglinchey.com
13   Sara Chenetz schenetz@perkinscoie.com,
     docketLA@perkinscoie.com;cmallahi@perkinscoie.com;jkulow@perkinscoie.com;chenetz-sara-perkins-
14   coie-8670@ecf.pacerpro.com;rleibowitz@perkinscoie.com
     Russell Clementson russell.clementson@usdoj.gov
15   Andrew Michael Cummings andrew.cummings@hklaw.com,
     philip.dobbs@hklaw.com;hapi@hklaw.com;reena.kaur@hklaw.com
16   Michael G. Farag mfarag@gibsondunn.com
     Jacqueline Foroutan Jacqueline.foroutan@akerman.com
     Paul R. Glassman pglassman@stradlinglaw.com
17
     Nicholas Christian Glenos cglenos@bradley.com
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     docketing@elkinskalt.com,tparizad@elkinskalt.com
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     Ralph P Guenther rguenther@guentherlawgroup.com
20   Robert T. Honeywell robert.honeywell@klgates.com
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21   ljurich@ecf.courtdrive.com; fmckeown@loeb.com
     Jane Kim jkim@kellerbenvenutti.com
22   Monica Y Kim myk@lnbyg.com, myk@ecf.inforuptcy.com
     Jeffrey C Krause jkrause@gibsondunn.com, dtrujillo@gibsondunn.com;jstern@gibsondunn.com
23   William J Levant wlevant@kaplaw.com, wlevant@gmail.com
     Adam A Lewis alewis@mofo.com, adam-lewis-3473@ecf.pacerpro.com
24   Norman Norman Lueck dennis.lueck@akerman.com, katie.solem@akerman.com
     Jelena McWilliams (TR) jmcwilliams@cravath.com, mao@cravath.com
25   Krikor J Meshefejian kjm@lnbyg.com
     Fred Neufeld fneufeld@stradlinglaw.com, tingman@sycr.com
26   Valerie Bantner Peo vbantnerpeo@buchalter.com
     David M Poitras dpoitras@bg.law
27   Jeremy V Richards jrichards@kbkllp.com, bdassa@pszjlaw.com;imorris@pszjlaw.com

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     Holly Roark holly@roarklawboise.com, RoarkLawOffices@jubileebk.net
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 4   hannah.richmond@saul.com
     Jason D Strabo jstrabo@mwe.com, jbishopjones@mwe.com
 5   United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
     Jeffrey C Wisler jwisler@connollygallagher.com, dperkins@connollygallagher.com
 6   Claire K Wu claire.wu@pillsburylaw.com, renee.evans@pillsburylaw.com;docket@pillsburylaw.com
     Beth Ann R. Young bry@lnbyg.com, bry@lnbyb.com
 7
                                                   Service information continued on attached page
 8
     2. SERVED BY UNITED STATES MAIL:
     On (date) 11/19/2024, I served the following persons and/or entities at the last known addresses in this
 9   bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
     in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
10   constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
     document is filed.
11
     Darren Azman
12   One Vanderbilt Avenue
     New York, NY 10017-3852
13
     Jake Jumbeck
14   MCDERMOTT WILL & EMERY LLP
     444 W. Lake Street, Suite 4000
15   Chicago, IL 60606-0029

16   Robert J Labate
     400 South Hope Street, 8th Floor
17   Los Angeles, CA 90071

18   Neda Shapourian
     Unit21, Inc.
19   49 Geary St. Ste 200
     San Francisco, CA 94108
20
     Jera L Bradshaw
     Greenberg Traurig LLP
21   2200 Ross Ave, Suite 5200
     Dallas, TX 75201
22
                                                   Service information continued on attached page
23
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
24   (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
     (date) 11/19/2024, I served the following persons and/or entities by personal delivery, overnight mail
25   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
     email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
26   mail to, the judge will be completed no later than 24 hours after the document is filed.

27   None.

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                                                    Service information continued on attached page
 1
     I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
 2

 3    11/19/2024                            Robert N. Greenfield                 /s/ Robert N. Greenfield
      Date                                  Printed Name                         Signature
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